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Counsel to the RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                  Chapter 11
                                                               :
ROCHESTER DRUG                                                 :                  Case No. 20-20230 (PRW)
CO-OPERATIVE, INC.                                             :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                     ORDER GRANTING LIQUIDATING TRUSTEE’S
                       TWENTY-THIRD OMNIBUS OBJECTION
                  (BOOKS AND RECORDS) TO CLAIMS FILED AGAINST
              ROCHESTER DRUG CO-OPERATIVE, INC. BY FINSON LAW FIRM


           Upon the objection (the “Objection”)1 of the Liquidating Trustee for entry of an order (this

“Order”) disallowing and expunging the claims listed on Exhibit A pursuant to section 502(b) of

the Bankruptcy Code, all as more fully set forth in the Objection; and upon the Declarations of

David Greenblatt and Judith Elkin; and the Court having found as follows: (i) it has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference from the

United States District Court for the Western District of New York, dated February 29, 2012; (ii)

this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) venue of this proceeding and the

Objection in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; (iv) the Liquidating



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Objection.


DOCS_LA:349012.1 75015/003
Trustee provided appropriate notice of the Objection and the opportunity for a hearing on the

Objection under the circumstances; and (v) under the facts and circumstances of this Objection, it

was appropriate for the Liquidating Trustee to utilize the omnibus claim objection procedures set

out in Bankruptcy Rule 3007(d) and (e), and the Objection is compliant with the Rules. The Court

having, reviewed the Objection and determined that the legal and factual bases set forth in the

Objection establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor, it is

        HEREBY ORDERED THAT:

                 1.          The Objection is granted.

                 2.          Each of the Disputed Claims set forth on Exhibit A hereto are hereby

disallowed and expunged.2

                 3.          The claims agent is authorized to update the Claims Register to reflect the

relief granted in this Order.

                 4.          The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                 5.          The Liquidating Trustee is authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Objection.

                 6.          This Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated: _____________________, 2023.


                                                   THE HONORABLE PAUL R. WARREN,
                                                   UNITED STATES BANKRUPTCY JUDGE

2
 Claim 21371 filed by Marin Santana was inadvertently listed as Claim 21370 on Exhibit A to the Objection (which
claim was actually filed by Pamela Sanabria). The correct claim number which is disallowed and expunged is Claim
21371, filed by Marin Santana, and is reflected on Exhibit A attached hereto.


DOCS_LA:349012.1 75015/003                               2
EXHIBIT A
EXHIBIT A TO LIQUIDATING TRUSTEE’S TWENTY‐THIRD OMNIBUS OBJECTION (BOOKS AND RECORDS) TO CLAIMS FILED AGAINST
ROCHESTER DRUG CO‐OPERATIVE, INC. BY FINSON LAW FIRM


     Claimant Name                                POC Number(s)           Reason for Objection: FOR ALL: No          Disposition if Objection
                                                                          documents and no way to identify Claimant, Granted
                                                                          amount or nature of damages or Claimant’s
                                                                          connection to Debtor. Other bases for
                                                                          objection as specifically set forth below.
 1   SADLER, LYNNETTE                                             21623                                               Claim disallowed
 2   SALDARINI, HERBERT                                           21624                                               Claim disallowed
 3   SAM, ROBERT                                                  21368                                               Claim disallowed
 4   SAMPSON, CLARENCE                                            21369                                               Claim disallowed
 5   SAMUELIAN, DONNA                                             21790                                               Claim disallowed
 6   SANABRIA, PAMELA                                             21370                                               Claim disallowed
 7   SANDERS, CHRIS, II                                           21625                                               Claim disallowed
 8   SANDERS, JOHN                                                21787                                               Claim disallowed
 9   SANDERS, OMARKIZA                                            21626                                               Claim disallowed
10   SANDHU, LILLY                                                21724                                               Claim disallowed
11   SANDOVAL, LIZ                                                21627                                               Claim disallowed
12   SANDOVAL, MARYIDA MARTINEZ                                   21719                                               Claim disallowed
13   SANTANA, MARIN                                         21371/21440      Claims filed 7/25/20 and 7/26/20. Claim Both Claims disallowed
                                                                             21440 filed by Marin Santana OBO Sandra
                                                                             Lee Santana.
14   SANTHUFF, DALE                                               21373                                               Claim disallowed
15   SANTIAGO, DARWINDA                                           21377                                               Claim disallowed
16   SANTOS, MYSTIE                                               21628                                               Claim disallowed
17   SAPIA, MICHAEL, JR                                           21629                                               Claim disallowed
18   SAVAGE, JODIE                                                21630                                               Claim disallowed
19   SCAVELLA, LISA                                               21379                                               Claim disallowed
20   SCHERER, CHARLES                                             21717                                               Claim disallowed
21   SCHILLING, MICHAEL                                           21748                                               Claim disallowed
22   SCHNEIDER, JOHN, II                                          21716                                               Claim disallowed
23   SCHOOLEY, IVA                                                20466                                               Claim disallowed


EXHIBIT A TO OMNIBUS OBJECTION AND GREENBLATT DECLARATION                                                                    1
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                                                                          documents and no way to identify Claimant, Granted
                                                                          amount or nature of damages or Claimant’s
                                                                          connection to Debtor. Other bases for
                                                                          objection as specifically set forth below.
24   SCHOONOVER, BRYAN                                            21631                                               Claim disallowed
25   SCHOONOVER, TWILLA                                           21380                                               Claim disallowed
25   SCHRAMM, KENNY                                               21382                                               Claim disallowed
27   SCHUMANN, CURTIS                                             21383                                               Claim disallowed
28   SCHWARTFIGURE, MICHELLE                                      21633                                               Claim disallowed
29   SCHWEIN, RYAN                                                21635                                               Claim disallowed
30   SCOTT, AMANDA                                                21385                                               Claim disallowed
31   SCOTT, DAISY DEBBIE                                          21713                                               Claim disallowed
32   SCOTT, REX                                                   21710                                               Claim disallowed
33   SCRIVANO, VERN FRANCIS                                       21708                                               Claim disallowed
34   SEELEY, GLENN                                                21638                                               Claim disallowed
35   SEGURA, LEOPOLDO                                             21705                                               Claim disallowed
36   SELNES, SUSAN                                                21387                                               Claim disallowed
37   SERAFIN, RICHARD                                             21445                                               Claim disallowed
38   SERGEANT, KRISTI                                             21941                                               Claim disallowed
39   SESSION, CURLEY, JR                                          21697                                               Claim disallowed
40   SHADBURN, SIDNEY II                                          20280                                               Claim disallowed
41   SHAFFER, CHRISTA                                             21639                                               Claim disallowed
42   SHANK, RANDY                                                 21389                                               Claim disallowed
43   SHARGHI, CHRISTOPHER                                         21690                                               Claim disallowed
44   SHATTUCK, BRYAN                                              21391                                               Claim disallowed
45   SHAW, MICHAEL PATRICK                                        21683                                               Claim disallowed
46   SHAW, SHEILA                                                 21393                                               Claim disallowed
47   SHEARBURN, BRIAN                                             21395                                               Claim disallowed
48   SHELLY VURNO O/B/O DAVID VURNO                               21296                                               Claim disallowed


EXHIBIT A TO OMNIBUS OBJECTION AND GREENBLATT DECLARATION                                                                    2
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     Claimant Name                                POC Number(s)           Reason for Objection: FOR ALL: No          Disposition if Objection
                                                                          documents and no way to identify Claimant, Granted
                                                                          amount or nature of damages or Claimant’s
                                                                          connection to Debtor. Other bases for
                                                                          objection as specifically set forth below.
49   SHELTON, ANGELA                                              21401                                               Claim disallowed
50   SHELTON, DUSTIN                                              21680                                               Claim disallowed
51   SHELTON, SCOTT A                                             21403                                               Claim disallowed
52   SHEPPARD, RONALD                                             21405                                               Claim disallowed
53   SHERMAN, CINDY                                               20281                                               Claim disallowed
54   SHINE, ROBIN                                                 21406                                               Claim disallowed
55   SHIPP, CHRISTOPHER                                           21407                                               Claim disallowed
56   SHIREY, WAYNE EVERETT                                        21677                                               Claim disallowed
57   SHIVERS, DAN                                                 21408                                               Claim disallowed
58   SHOEMAKER, ANNIE LEE                                         21616                                               Claim disallowed
59   SHORNEY, KEVIN                                               21409                                               Claim disallowed
60   SHORT, KRISTIE                                               21410                                               Claim disallowed
61   SHRIVER, JAMIE                                               21411                                               Claim disallowed
62   SHULTS, GLEN DEAN, II                                        21614                                               Claim disallowed
63   SHUMAR, SUMMAR                                               21412                                               Claim disallowed
64   SIEGRIST, BRIAN                                              21611                                               Claim disallowed
65   SIEROTA, JASON                                               21413                                               Claim disallowed
66   SIKES, JEREMY                                                21415                                               Claim disallowed
67   SILVER, SYDNEY                                               21416                                               Claim disallowed
68   SILVIERA, KARL                                               21414                                               Claim disallowed
69   SIMMERS, CHARLES                                             21417                                               Claim disallowed
70   SIMMONS, HENRY                                               21609                                               Claim disallowed
71   SIMMONS, JOHN, JR                                            21606                                               Claim disallowed
72   SIMONELLI, DANIEL                                            21593                                               Claim disallowed
73   SIMS, JOYCE                                                  21588                                               Claim disallowed


EXHIBIT A TO OMNIBUS OBJECTION AND GREENBLATT DECLARATION                                                                    3
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     Claimant Name                                POC Number(s)           Reason for Objection: FOR ALL: No          Disposition if Objection
                                                                          documents and no way to identify Claimant, Granted
                                                                          amount or nature of damages or Claimant’s
                                                                          connection to Debtor. Other bases for
                                                                          objection as specifically set forth below.
74   SINCLAIR, BERT                                               21418                                               Claim disallowed
75   SINOFF, AMY                                                  21419                                               Claim disallowed
76   SIPOS, BRIAN                                                 21420                                               Claim disallowed
77   SIPOS, SHERYL                                                21441                                               Claim disallowed
78   SISSON, MICHAEL                                              21421                                               Claim disallowed
79   SKAGGS, JOSEPH                                               21422                                               Claim disallowed
80   SKILES, ROY DEAN                                             21586                                               Claim disallowed
81   SLAUGHTER, MICHAEL                                           21423                                               Claim disallowed
82   SLAUGHTER, MOSES                                             21583                                               Claim disallowed
83   SLAYTON, MARK                                                21424                                               Claim disallowed
84   SLIVKA, MARK                                                 21945                                               Claim disallowed
85   SLY, SHANNON                                                 20468                                               Claim disallowed
86   SMALL, KAREN                                                 21425                                               Claim disallowed
87   SMALL, LOIS                                                  21582                                               Claim disallowed
88   SMALLWOOD, CRYSTAL                                           21580                                               Claim disallowed
89   SMITH, BARRY DEAN                                            21279                                               Claim disallowed
90   SMITH, BETTY JEAN                                            21571                                               Claim disallowed
91   SMITH, BRIAN                                                 21426                                               Claim disallowed
92   SMITH, CANDY                                                 21427                                               Claim disallowed
93   SMITH, CHERYL                                                21428                                               Claim disallowed
94   SMITH, DEBORAH GAINES                                        21288                                               Claim disallowed
95   SMITH, EBONY                                                 21578                                               Claim disallowed
96   SMITH, EDWARD                                                20283                                               Claim disallowed
97   SMITH, JARED                                                 21546                                               Claim disallowed



EXHIBIT A TO OMNIBUS OBJECTION AND GREENBLATT DECLARATION                                                                    4
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    Claimant Name                                 POC Number(s)         Reason for Objection: FOR ALL: No          Disposition if Objection
                                                                        documents and no way to identify Claimant, Granted
                                                                        amount or nature of damages or Claimant’s
                                                                        connection to Debtor. Other bases for
                                                                        objection as specifically set forth below.
 98 SMITH, JIMMY                                            21277/21549   Appear to be duplicates. Claims filed     Both Claims disallowed
                                                                          7/24/20 and 7/27/20 by Jimmy Smith.
 99 SMITH, JOSEPH                                                 21429                                             Claim disallowed
100 SMITH, LEE                                                    21286                                             Claim disallowed




EXHIBIT A TO OMNIBUS OBJECTION AND GREENBLATT DECLARATION                                                                  5
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